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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-cv-00874-RBJ-MEH

  WARNER BROS. RECORDS INC.,
  ATLANTIC RECORDING CORPORATION,
  BAD BOY RECORDS LLC,
  ELEKTRA ENTERTAINMENT GROUP INC.,
  FUELED BY RAMEN LLC,
  NONESUCH RECORDS INC.,
  ROADRUNNER RECORDS, INC.,
  WEA INTERNATIONAL INC.,
  WARNER/CHAPPELL MUSIC, INC.,
  WARNER-TAMERLANE PUBLISHING CORP.,
  WB MUSIC CORP.,
  W.B.M. MUSIC CORP.,
  UNICHAPPELL MUSIC INC.,
  RIGHTSONG MUSIC INC.,
  COTILLION MUSIC, INC.,
  INTERSONG U.S.A., INC.,
  SONY MUSIC ENTERTAINMENT,
  ARISTA MUSIC,
  ARISTA RECORDS LLC,
  LAFACE RECORDS LLC,
  PROVIDENT LABEL GROUP, LLC,
  SONY MUSIC ENTERTAINMENT US LATIN,
  VOLCANO ENTERTAINMENT III, LLC,
  ZOMBA RECORDINGS LLC,
  SONY/ATV MUSIC PUBLISHING LLC,
  EMI AL GALLICO MUSIC CORP.,
  EMI ALGEE MUSIC CORP.,
  EMI APRIL MUSIC INC.,
  EMI BLACKWOOD MUSIC INC.,
  COLGEMS-EMI MUSIC INC.,
  EMI CONSORTIUM MUSIC PUBLISHING INC. d/b/a EMI FULL KEEL MUSIC,
  EMI CONSORTIUM SONGS, INC., individually and d/b/a EMI LONGITUDE MUSIC,
  EMI ENTERTAINMENT WORLD INC. d/b/a EMI FORAY MUSIC,
  EMI JEMAXAL MUSIC INC.,
  EMI FEIST CATALOG INC.,
  EMI MILLER CATALOG INC.,
  EMI MILLS MUSIC, INC.,
  EMI UNART CATALOG INC.,
  EMI U CATALOG INC.,
  JOBETE MUSIC CO. INC.,
  STONE AGATE MUSIC,
  SCREEN GEMS-EMI MUSIC INC.,
  STONE DIAMOND MUSIC CORP.,
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  UMG RECORDINGS, INC.,
  CAPITOL RECORDS, LLC,
  UNIVERSAL MUSIC CORP.,
  UNIVERSAL MUSIC – MGB NA LLC,
  UNIVERSAL MUSIC PUBLISHING INC.,
  UNIVERSAL MUSIC PUBLISHING AB,
  UNIVERSAL MUSIC PUBLISHING LIMITED,
  UNIVERSAL MUSIC PUBLISHING MGB LIMITED,
  UNIVERSAL MUSIC – Z TUNES LLC,
  ISLAND MUSIC LIMITED,
  POLYGRAM PUBLISHING, INC., and
  SONGS OF UNIVERSAL, INC.,

         Plaintiffs,

  v.

  CHARTER COMMUNICATIONS, INC.,

         Defendant.


                                       MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on December 3, 2019.

        At the request of the parties, the Court will hold a Discovery Conference on December 17,
  2019 at 1:00 p.m. in Courtroom A-501, on the fifth floor of the Alfred A. Arraj United States
  Courthouse located at 901 19th Street, Denver, Colorado.

         Counsel for the parties shall appear in person unless otherwise permitted to appear by
  telephone on a showing of good cause.

         The parties shall submit any information/documents they believe may be helpful to the
  resolution of the issue(s) on or before December 16, 2019 at noon to
  hegarty_chambers@cod.uscourts.gov.




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